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				IN RE RULES OF THE SUPREME COURT OF THE STATE OF OKLA. ON LICENSED LEGAL INTERNSHIP2017 OK 47Case Number: SCBD-2109Decided: 06/05/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 47, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In Re: RULES OF THE SUPREME COURT OF THE STATE OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP [5 O.S. ch. 1, app. 6]



ORDER GRANTING AMENDMENT TO THE RULES OF THE SUPREME 
COURT OF THE STATE OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP 



This matter comes on before this Court upon an Application to Amend Rule 2, Eligibility for a Limited License, Section 2.1A, Academic Legal Intern License, 5 O.S. ch. 1, app. 6, of the Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship. This Court finds that it has jurisdiction over this matter and that an Order should enter as follows:

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Section 2.1A is hereby amended as set out in Exhibit A attached hereto.

DONE IN CONFERENCE this 5th day of June, 2017.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR


&nbsp;


&nbsp;

EXHIBIT A

Rules of the Supreme Court of the State of Oklahoma
on Licensed Legal Internship
Okla. Stat. tit. 5
ch. 1, app. 6
Rule 2. Eligibility for a Limited License
Section 2.1A. Academic Legal Intern License

Section 2.1A. Academic Legal Intern License

A law student not otherwise eligible for licensure under Rule 2 and enrolled in a law school academic program that requires the utilization of an intern's license must meet the following requirements in order to be eligible for a limited license as an Academic Legal Intern:

(1) Requirements

(a) Be a regularly enrolled student at an accredited law school located in the State of Oklahoma;

(b) Have successfully completed one-third (1/3) of the number of academic hours in a law school program leading to a Juris Doctor Degree required by the American Bar Association Accreditation Standards;

(c) Have a graduating grade point average at his or her law school;

(d) Have approval of his or her law school dean or the dean's designate;

(e) Have either completed or be concurrently enrolled in Professional Responsibility and Evidence Courses;

(f) Successfully pass the examination required by Rule 5.2;

(g) Be registered with the Oklahoma Board of Bar Examiners or provide a criminal background report from the State of Oklahoma and the student's prior state(s) of residence, if different; and

(h) Be enrolled in a law school course that will provide direct law school faculty supervision for the student's activities under the Academic Legal Intern License, including physical presence of a supervising faculty member at all court appearances.

(2) Limitations

All limitations and procedures which apply to the regular limited license shall apply to the academic limited license, except the Academic Legal Intern shall make no court appearance without a faculty supervisor present. The Academic Legal Intern's license may only be used in conjunction with enrollment in a program established pursuant to Rule 4.1(a).

(3) Expiration of Academic Legal Intern License

Once an Academic Legal Intern is no longer enrolled in a course described in Rule 2.1A(1)(h), the student's Academic Legal Intern License must be placed on inactive status. If the student wants to use a Limited Legal Intern License thereafter, that student shall have to meet all qualifications for a Limited Legal Intern License under Rule 2.1 or Rule 2.2, including the submission of a current application and payment of an application fee, however, the student shall not have to retake the Legal Internship Examination.





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